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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
OO                                                271 Cadman Plaza East
F. #2018R02250                                    Brooklyn, New York 11201



                                                  May 5, 2022

By E-mail and ECF

The Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Douglas Mackey
                       Criminal Docket No. 21-CR-80 (NGG)

Dear Judge Garaufis:

                The government submits this letter in advance of the oral argument on the
motion for a bill of particulars, currently scheduled for May 6, 2022 at 4:00 p.m. The
government respectfully requests that the Court permit one attorney from the government,
William Gullotta, to attend Friday’s proceeding by telephone. The government does not
anticipate that Mr. Gullotta will address the Court during the oral argument.


                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                          By:        /s/
                                                  Olatokunbo Olaniyan
                                                  Assistant U.S. Attorney
                                                  (718) 254-6317

CC:    Andrew Frisch, Esq. (via ECF and e-mail)
